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                                                                          2                               IN THE UNITED STATES DISTRICT COURT

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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                              Golden,                                              No. CV10-00437 JSW
                                                                          6
                                                                                             Plaintiff,
                                                                                                                                     ORDER SCHEDULING TRIAL AND
                                                                          7
                                                                                v.                                                       PRETRIAL MATTERS
                                                                          8
                                                                              California Emergency Physicians Medical
                                                                          9   Group,

                                                                         10                  Defendant.
                                                                                                                           /
                                                                         11
United States District Court
                               For the Northern District of California




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                                                                         13          Following the Case Management Conference, IT IS HEREBY ORDERED that the Case
                                                                         14   Management Statement is adopted, except as expressly modified by this Order. It is further
                                                                         15   ORDERED that:
                                                                         16          A.      DATES
                                                                         17   Jury Trial Date: 5/16/2011, at 8:30 a.m., 10 days
                                                                         18   Pretrial Conference: Monday, 4/25/2011, at 2:00 p.m.
                                                                         19   Further Case Management Conference: 2/4/2011, 1:30 p.m.
                                                                         20   Joint Case Management Statement due: 1/28/2011
                                                                         21          B.      DISCOVERY
                                                                         22          The parties are reminded that a failure voluntarily to disclose information pursuant to
                                                                         23   Federal Rule of Civil Procedure 26(a) or to supplement disclosures or discovery responses
                                                                         24   pursuant to Rule 26(e) may result in exclusionary sanctions. Thirty days prior to the close of
                                                                         25   non-expert discovery, lead counsel for each party shall serve and file a certification that all
                                                                         26   supplementation has been completed.
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                                                                          1          C.         ALTERNATIVE DISPUTE RESOLUTION
                                                                          2          This matter is referred for assignment to a Magistrate Judge to conduct a settlement
                                                                          3   conference to be completed by August 12, 2010. Counsel will be contacted by that judge's
                                                                          4   chambers with a date and time for the conference.
                                                                          5          D.         PROCEDURE FOR AMENDING THIS ORDER
                                                                          6          No provision of this order may be changed except by written order of this court upon its
                                                                          7   own motion or upon motion of one or more parties made pursuant to Civil. L. R. 7-1 or 7-1-(b)
                                                                          8   without a showing of very good cause. If the modification sought is an extension of a deadline
                                                                          9   contained herein, the motion must be brought before expiration of that deadline. The parties
                                                                         10   may not modify the pretrial schedule by stipulation. A conflict with a court date set after the
                                                                         11   date of this order does not constitute good cause. The parties are advised that if they stipulate to
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                                                                         12   a change in the discovery schedule, they do so at their own risk. The only discovery schedule
                                                                         13   that the Court will enforce is the one set in this order. Additionally, briefing schedules that are
                                                                         14   specifically set by the court may not be altered by stipulation; rather the parties must obtain
                                                                         15   leave of Court.
                                                                         16          IT IS SO ORDERED.
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                                                                              Dated: June 2, 2010
                                                                         18                                                             JEFFREY S. WHITE
                                                                                                                                        UNITED STATES DISTRICT JUDGE
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